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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE

 UNITED STATES OF AMERICA                                                               PLAINTIFF


 vs.                                                            CRIMINAL NO. 3:23-CR-37-DJH


 ANDREW N. CLOONEY                                                                   DEFENDANTS
 CHRISTEL M. CLOONEY


                                     PROTECTIVE ORDER


        THIS MATTER having come before the Court on the unopposed motion of the United

 States of America, by and through its undersigned counsel, and the Court having found that

 entering a Protective Order regarding discovery materials is appropriate, and for good cause

 shown, IT IS ORDERED,

        1.      The government will produce discovery materials in this case that contain, among

 other things, individually identifiable information and other private information about numerous

 individuals, as well as confidential tax returns and taxpayer return information, within the meaning

 of Title 26, United States Code, Section 6103(b). Disclosure of such tax return and taxpayer return

 information is governed by Title 26, United States Code, Section 6103(a), which mandates that

 return and return information will be confidential except as authorized by Section 6103. Section

 6103(h)(4)(D) permits disclosure to the defense of such tax return and taxpayer return information

 in accord with Rule 16 of the Federal Rules of Criminal Procedure, but further disclosure of this

 tax return and tax return information by defendants or their attorneys is restricted by Section 6103.

        2.      The discovery materials will also include information which is governed by Rule

 6(e) of the Federal Rules of Criminal Procedure.
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          3.    Defendants’ counsel and defendants will keep all materials produced by the

 government in a secure place to which no person who does not have reason to know their contents

 has access.

          4.    The materials produced by the government may be used by the defendants,

 defendants’ counsel and any employees or agents of defendants’ counsel solely in the defense of

 this case.

          5.    Defendants’ counsel and defendants will not disclose the tax return information or

 other private information contained in the discovery material directly or indirectly to any person

 except those assisting the defense, persons who are interviewed as potential witnesses, potential

 experts, or other authorized persons, during the course of the investigation and defense of this case.

          6.    The discovery material produced by the government will not be copied or

 reproduced unless the material is copied or reproduced for authorized persons to assist in the

 defense, and in the event copies are made, the copies shall be treated in the same manner as the

 original material.

          7.    When providing the discovery materials to an authorized person, the defendants’

 counsel must inform the authorized person that the materials are provided subject to the terms of

 this Protective Order and that the authorized person must comply with the terms of this Protective

 Order.

          8.    Defendants’ counsel will inform the defendants of the provisions of this Protective

 Order, and direct them not to disclose or use any information contained in the government’s

 discovery in violation of this Protective Order. However, nothing contained in the Protective

 Order will preclude any party from applying to the Court for further relief or for modification of

 any provision hereof.



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